Case 1:22-cv-01037-CMA-NRN Document 9 Filed 05/02/22 USDC Colorado Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              1:22-cv-01037-LTB
  Civil Action No. _____ -cv- __________-       _____
  Eric Pickersgill                                  ,

         Plaintiff(s),

  v.
  The Egotist, LLC dba The Denver Egotist
                                                        ,

         Defendant(s).


             ELECTION CONCERNING CONSENT/NON-CONSENT TO
              UNITED STATES MAGISTRATE JUDGE JURISDICTION
  ______________________________________________________________________

         Under 28 U.S.C. § 636(c) and

         (1)     D.C.COLO.LCivR 40.1(c) (Assignment of Cases/Direct Assignment to
                 Magistrate Judges);

         or

         (2)     Fed. R. Civ. P. 73 and D.C.COLO.LCivR 72.2 (Consent Jurisdiction of a
                 Magistrate Judge);

         or

         (3)     D.C.COLO.LAPR 72.2 (Consent Jurisdiction of a Magistrate Judge).

                                          CHECK ONE

                    all parties in this civil action CONSENT to have a United States
  magistrate judge conduct all proceedings in this civil action, including trial, and to order
  the entry of a final judgment;

                                               OR

         ✔        at least one party in this civil action DOES NOT CONSENT to have a
  United States magistrate judge conduct all proceedings in this civil action, including trial,
  and to order the entry of a final judgment.
Case 1:22-cv-01037-CMA-NRN Document 9 Filed 05/02/22 USDC Colorado Page 2 of 2




       Signatures                        Party Represented                   Date
  /s/ Jonah A. Grossbardt
  _________________________   Eric Pickersgill           May 2, 2022
                                  _________________________
                                                         ________________
            Jonah A. Grossbardt
  Print name_____________________________________________________________

  _________________________       _________________________           ________________

  Print name_____________________________________________________________

  _________________________       _________________________           ________________


  NOTE:      You are directed to confer with all parties in this action and execute and file
             with the Court this Election Concerning Consent/Non-Consent to United
             States Magistrate Judge Jurisdiction, indicating either the unanimous
             consent of the parties or that at least one party has declined to consent, at
             the earlier of (1) no later than seven days before the scheduling conference,
             if any; or (2) 45 days after the filing of the first response, other than an
             answer, to the operative complaint. All parties must either consent to the
             exercise of magistrate judge jurisdiction, or any party may decline to
             consent. In either event, filing of the Election Concerning
             Consent/Non-Consent to United States Magistrate Judge Jurisdiction
             is mandatory, indicating either the unanimous consent of the parties or that
             at least one party has declined to consent.
